Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 1 of 35 PageID #: 12
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 2 of 35 PageID #: 13
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 3 of 35 PageID #: 14
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 4 of 35 PageID #: 15
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 5 of 35 PageID #: 16
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 6 of 35 PageID #: 17
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 7 of 35 PageID #: 18
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 8 of 35 PageID  #: 11/3/2020
                                                                         Filed: 19       5:00 PM
                                                                                                          Delaware Circuit Court 1
                                                                                                         Delaware County, Indiana




STATE OF INDIANA                )                           DELAWARE CIRCUIT COURT                   1


                                )   SS:
COUNTY OF DELAWARE )                                        CAUSE NO.       18C01-2010-CT-0001 11

ANNETTE PADGETT,                                       )

                                                       )

      Plaintiff,                                       )

                                                       )
VS.                                                    )

                                                       )

ANONYMOUS DNP, APRN—BC,                                )

ANONYMOUS MSW, ANONYMOUS                               )

INTERN, and ANONYMOUS SERVICES                         )

CORP.                                                  )

                                                       )
      Defendants.                                      )

                                                       )



                         APPEARANCE BY ATTORNEY IN CIVIL CASE

 Party Classiﬁcation:      Initiating {}   Responding {X}       Intervening {}


 1.      The undersigned attorney and all attorneys listed 0n this form now appear in this case               for
         the following party member(s) Anonymous DNP, APRN-BC, Anonymous MSW,
         Anonymous Intern, and Anonymous Services Corp.

         Applicable attorney information for service as required by Trial Rule 5(B)(2)
         and for case information as required by Trial Rules 3.1 and 77(B) is as follows:

         Names:

         Philip E.   Kalamaros (#1 1722-71)
         Michael G. Getty (#1 7 1 50-49)
         HUNT SUEDHOFF KALAMAROS LLP
         301 State         PO Box 46
                     Street,
         Saint Joseph,   MI 49085
         Telephone: 269.983.4405
         Facsimile: 269.983.5645


         There are other party members: Yes      { }   N0   {X}. If yes,   list   other party   members not
         represented by these attorneys.


         Ifﬁrst initiatingparlyﬁling this case, the Clerk      is   requested to assign this case the
         following Case Type under Administrative Rule 9(b)(3): N/A.


         IWill accept service by fax at the above noted number: Yes{} No. {X}.
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 9 of 35 PageID #: 20




 6.      This case involves support issues. Yes{} No.{X}.


 7.      There are related cases: Yes       {}     No. {X}.

 8.      This form has been served on        all   other parties. Certiﬁcate of Service   is   attached:   Yes
         {X} No.{}.

 9.      Additional information required           by   state 0r local rule:   N/A.



                                                         HUNT SUEDHOFF KALAMAROS LLP


                                                         /s/Michael G. Gettv
                                                         Philip E. Kalamaros (#1 1722-71)
                                                         Michael G. Getty (#17150—49)
                                                         Attorneyfor Defendants
                                                         301 State Street, PO Box 46
                                                         Saint Joseph,   MI 49085
                                                         Tel:   269.983.4405
                                                         Email:    mgeﬂg’thk-lawcom

 Authority: Pursuant to Trial Rule 3.1, this form shall be ﬁled at the time an action           is   commenced or
 when   a party ﬁrst appears.        In emergencies, the requested information shall be supplied          when it
 becomes   available.   Parties shall advise the court of a change in information previously provided t0
 the court. This format    is   approved by the Division 0f State Court Administration.



                                        CERTIFICATE OF SERVICE

         I certify   that a true   and correct copy of the above and foregoing Appearance was ﬁled and


 served upon   all   counsel of record Via the Court’s electronic ﬁling/service system, this 3rd day 0f


 November, 2020.



                                                         /s/   Michael G. Gettv
                                                         Michael G. Getty
       Case 1:21-cv-00196-JMS-DLP Document  1-2
                                   18C01 -201    Filed 01/25/21
                                              0-CT-0001  11     Page 10 of 35 PageID    #: 21
                                                                                 Filed: 10/19/2020 12:46 PM
                                                                                                                                                                   Clerk
                                                                Delaware Circuit Court         1                                            Delaware County, Indiana
STATE OF INDIANA                          )                                                DELAWARE CIRCUIT/SUPERIOR COURT
                                          )SS:
COUNTY OF DELAWARE                        )                                                SITTING IN                         ,
                                                                                                                                  INDIANA


ANNETTE PADGETT                                                        )

                                                                       )
                                 Plaintiff,                            )

                                                                       )

v.                                                                     )     Cause N0.
                                                                       )

ANONYMOUS, DNP, APRN-BC,                                               )

ANONYMOUS, MSW,                                                        )

ANONYMOUS INTERN and                                                   )

ANONYMOUS SERVICES CORP.                                               )

                                                                       )
                                 Defendants.
                                                              SUMMONS
THE STATE 0F INDIANA T0 DEFENDANT:                            ANONYMOUS SERVICES CORP.
                                                              MERIDIAN HEALTH SERVICES CORP.
                                                                JENNIFER J. ABRELL
                                                              c/o
                                                              324W. JACKSON STREET
                                                              MUNCIE, 1N 47305

          You have been sued by the person(s)            identiﬁed as "Plaintiff," in the Court stated above.


       The nature 0f the suit against you is stated             in the complaint            Which   is   attached t0 this   SUMMONS.        It also states   the
demand Which the plaintiff has made against you.

        You must either personally 0r by your attorney ﬁle your answer t0 the COMPLAINT with the Clerk within twenty (20)
days commencing the day after this SUMMONS and the COMPLAINT were personally served upon you or your agent 0r left
for your by the Sheriff of other process server.


          In the event the   SUMMONS and COMPLAINT were left for you and you then receive by ﬁrst class mail (not certiﬁed)
a copy 0f the      SUMMONS alone, this mailing is merely a conﬁrmation that the SUMMONS and COMPLAINT were previously
left for you.      You should not consider the date 0n Which you receive the mailed SUMMONS as the commencement date for the
time period allowed for your answer.             Rather, the time period allowed for your written answer commences 0n the date                           When
the   SUMMONS and COMPLAINT were ﬁrst personally served upon you 0r your agent or left for you by the Sheriff 0r other
process server.


          However,      if you   0r your agent ﬁrst received the    SUMMONS and the COMPLAINT by certiﬁed mail, you have twenty-
three (23) days from the date 0f receipt t0 ﬁle your written answer With the Clerk.


          If   you         answer the COMPLAINT of the
                     fail to                                        Plaintiff within the times prescribed herein,                 judgment   will   be entered
against you for      what the Plaintiff has demanded.

        If you have a claim against the Plaintiff arising from the same transaction 0r occurrence, you                            may be required t0    assert
such claim in writing together with your written answer.

          The following manner 0f service         is   hereby designated:
                                                                                    E-l‘




Counsel for Plaintiff:                                                 Date:
Barry D. Rooth, #6418-45
Holly S.C. Wojcik, # 23197-64
THEODOROS & ROOTH PC
8750 Broadway, Ste. A
Merrillville,     IN 46410
219/769-6393
PREPARATION DATA:
All   Summonses are       to   be prepared in triplicate with the original 0f each to be placed in the Court ﬁle with two copies available
for service.
If service   is   by certiﬁed mail a properly addressed envelope           shall   be provided for each Defendant.

Certiﬁed mail labels and return receipts must also be furnished for each mailing and the cause number must appear on each
       Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 11 of 35 PageID #: 22
return receipt, Which shall be returnable t0 the Clerk at the address 0f the Court.



                                                                 CLERK'S CERTIFICATE OF MAILING


             I   hereby certify that on the                            day 0f                             2020, I mailed a copy of this SUMMONS and
                                                                                                                             ,


a copy 0f the        COMPLAINT          to the Defendant,                by certiﬁed mail, requesting a return receipt, at the address furnished by the
Plaintiff.


                                                                           Clerk 0f the             DELAWARE Circuit and Superior Courts
             Dated:                                         ,
                                                                2020.      By:
                                                                                                             Deputy Clerk

                                                       RETURN ON SERVICE OF SUMMONS BY MAIL
             I    hereby certify that the attached return receipt was received by                                  me showing          that the  SUMMONS and a copy 0f the
COMPLAINT              mailed to Defendant                                                                                            ,   was accepted by the Defendant 0n the
         day 0f                                        ,
                                                           2020.


             I    hereby certify that the attached return receipt was received by                                  me showing          that the     SUMMONS            and a copy 0f the
COMPLAINT was returned not accepted 0n the                         day 0f                                                                           ,   2020.


                                                                           Clerk 0f the             DELAWARE Circuit and Superior Courts
             Dated:                                         ,   2020.      By:
                                                                                                             Deputy Clerk

                                                   RETURN OF SERVICE OF SUMMONS BY SHERIFF
             I   hereby certify that    I   have served the Within               SUMMONS:

             1.           By delivering 0n                                                ,   2020, a copy 0f this      SUMMONS, a copy 0f the COMPLAINT and all
other materials ﬁled the same date to each 0f the within                                  named       person(s).


             2.           By     leaving          on                                                     ,     2020,    for           each      0f            the    Within       person(s)
                                                                   a copy of the          SUMMONS,             a copy of the         SUMMONS,            a copy of the      COMPLAINT
and    all        other   materials     ﬁled       the          same     date        at       the     respective    dwelling         house     0r        usual      place   of   abode         of
                                                                                in                                               ,   Indiana, with a person 0f suitable age and
discretion residing within,        whose usual duties 0r activities include prompt communication 0f such information t0 the person
served, 0r        by otherwise leaving such process thereat, and by mailing a copy 0f the SUMMONS without the COMPLAINT t0 the
said   named       person(s) at the address listed herein.


             3.           This   SUMMONS               came        to had this                date,                                            ,        2020.       The within named
                                                                   was not found              in   my bailiwick this     date,                                                     ,   2020.


ALL DONE IN DELAWARE COUNTY, INDIANA.

                                                                           SHERIFF OF DELAWARE COUNTY, INDIANA

                                                                           By:



                                                                        SERVICE ACKNOWLEDGED

             A    copy 0f the within    SUMMONS,                   a copy 0f the          COMPLAINT              and   all   materials ﬁled the           same date attached thereto
were    received          by me    at                                                          in                                                         ,    Indiana,     0n   this    date,
                                              ,   2020.



                                                                                                             Signature 0f Defendant
        Case 1:21-cv-00196-JMS-DLP Document  1-2
                                    18C01 -201    Filed 01/25/21
                                               0-CT-0001  11     Page 12 of 35 PageID    #: 23
                                                                                  Filed: 10/19/2020 12:46 PM
                                                                                                                                                                    Clerk
                                                                  Delaware Circuit Court       1                                             Delaware County, Indiana
STATE OF INDIANA                           )                                              DELAWARE CIRCUIT/SUPERIOR COURT
                                           )SS:
COUNTY OF DELAWARE                         )                                              SITTING IN                           ,
                                                                                                                                   INDIANA


ANNETTE PADGETT                                                             )

                                                                            )
                                  Plaintiff,                                )

                                                                            )

v.                                                                          )     Cause N0.
                                                                            )

ANONYMOUS, DNP, APRN-BC,                                                    )

ANONYMOUS, MSW,                                                             )

ANONYMOUS INTERN and                                                        )

ANONYMOUS SERVICES CORP.                                                    )

                                                                            )
                                  Defendants.
                                                                SUMMONS
THE STATE 0F INDIANA T0 DEFENDANT:                              ANONYMOUS INTERN
                                                                MAGGIE GLASS
                                                                c/o MERIDIAN HEALTH SERVICES CORP.
                                                                     TILLOTSON AVENUE
                                                                240 N.
                                                                MUNCIE, 1N 47304

           You have been sued by the person(s)             identiﬁed as "Plaintiff," in the Court stated above.


       The nature 0f the suit against you is stated               in the complaint           Which   is   attached t0 this   SUMMONS.        It also states   the
demand Which the plaintiff has made against you.

           You must either personally 0r by your attorney ﬁle your answer t0 the COMPLAINT with the Clerk within twenty (20)
days commencing the day after            this   SUMMONS and the COMPLAINT were personally served upon you 0r your agent 0r left
for   your by the Sheriff 0f other process server.

           In the event the  SUMMONS and COMPLAINT were left for you and you then receive by ﬁrst class mail (not certiﬁed)
a copy of the      SUMMONS alone, this mailing is merely a conﬁrmation that the SUMMONS and COMPLAINT were previously
left for you.      You should not consider the date 0n Which you receive the mailed SUMMONS as the commencement date for the
time period allowed for your answer.              Rather, the time period allowed for your written answer commences on the date                           when
the   SUMMONS and COMPLAINT were ﬁrst personally served upon you 0r your agent 0r left for you by the Sheriff 0r other
process server.


           However,      if you   0r your agent ﬁrst received the        SUMMONS and the COMPLAINT by certiﬁed mail, you have twenty-
three (23) days from the date 0f receipt t0 ﬁle your written answer with the Clerk.


           If   you         answer the COMPLAINT 0f the
                      fail t0                                            Plaintiff Within the times prescribed herein,             judgment   will   be entered
against you for       what the Plaintiff has demanded.

        If you have a claim against the Plaintiff arising from the same transaction 0r occurrence, you                             may be required t0    assert
such claim in writing together with your written answer.

           The following manner 0f service          is   hereby designated:                   'ﬁed     M   'l.


                                                                                                   ﬂ
Counsel for Plaintiff:                                                      Date:        L

Barry D. Rooth, #6418-45
Holly S.C. Wojcik, # 23197-64
THEODOROS & ROOTH PC
8750 Broadway, Ste. A
Merrillville,     IN 46410
219/769-6393
PREPARATION DATA:
All   Summonses are        to   be prepared in triplicate with the original 0f each to be placed in the Court ﬁle with two copies available
for service.
If service   is   by certiﬁed mail a properly addressed envelope                shall   be provided for each Defendant.

Certiﬁed mail labels and return receipts must also be furnished for each mailing and the cause number must appear on each
       Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 13 of 35 PageID #: 24
return receipt, Which shall be returnable t0 the Clerk at the address 0f the Court.



                                                                 CLERK'S CERTIFICATE OF MAILING


             I   hereby certify that on the                            day of                             2020, I mailed a copy of this SUMMONS and
                                                                                                                             ,


a copy 0f the        COMPLAINT          to the Defendant,                by certiﬁed mail, requesting a return receipt, at the address furnished by the
Plaintiff.


                                                                           Clerk 0f the             DELAWARE Circuit and Superior Courts
             Dated:                                         ,
                                                                2020.      By:
                                                                                                             Deputy Clerk

                                                       RETURN ON SERVICE OF SUMMONS BY MAIL
             I    hereby certify that the attached return receipt was received by                                  me showing          that the  SUMMONS and a copy 0f the
COMPLAINT              mailed to Defendant                                                                                            ,   was accepted by the Defendant 0n the
         day 0f                                        ,
                                                           2020.


             I    hereby certify that the attached return receipt was received by                                  me showing          that the     SUMMONS            and a copy 0f the
COMPLAINT was returned not accepted 0n the                         day 0f                                                                           ,   2020.


                                                                           Clerk 0f the             DELAWARE Circuit and Superior Courts
             Dated:                                         ,   2020.      By:
                                                                                                             Deputy Clerk

                                                   RETURN OF SERVICE OF SUMMONS BY SHERIFF
             I   hereby certify that    I   have served the Within               SUMMONS:

             1.           By delivering 0n                                                ,   2020, a copy 0f this      SUMMONS, a copy 0f the COMPLAINT and all
other materials ﬁled the same date to each 0f the within                                  named       person(s).


             2.           By     leaving          on                                                     ,     2020,    for           each      0f            the    Within       person(s)
                                                                   a copy of the          SUMMONS,             a copy of the         SUMMONS,            a copy of the      COMPLAINT
and    all        other   materials     ﬁled       the          same     date        at       the     respective    dwelling         house     0r        usual      place   of   abode         of
                                                                                in                                               ,   Indiana, with a person 0f suitable age and
discretion residing within,        whose usual duties 0r activities include prompt communication 0f such information t0 the person
served, 0r        by otherwise leaving such process thereat, and by mailing a copy 0f the SUMMONS without the COMPLAINT t0 the
said   named       person(s) at the address listed herein.


             3.           This   SUMMONS               came        to had this                date,                                            ,        2020.       The within named
                                                                   was not found              in   my bailiwick this     date,                                                     ,   2020.


ALL DONE IN DELAWARE COUNTY, INDIANA.

                                                                           SHERIFF OF DELAWARE COUNTY, INDIANA

                                                                           By:



                                                                        SERVICE ACKNOWLEDGED

             A    copy 0f the within    SUMMONS,                   a copy 0f the          COMPLAINT              and   all   materials ﬁled the           same date attached thereto
were    received          by me    at                                                          in                                                         ,    Indiana,     0n   this    date,
                                              ,   2020.



                                                                                                             Signature 0f Defendant
       Case 1:21-cv-00196-JMS-DLP Document  1-2
                                   18C01 -201    Filed 01/25/21
                                              0-CT-0001  11     Page 14 of 35 PageID    #: 25
                                                                                 Filed: 10/19/2020 12:46 PM
                                                                                                                                                              Clerk
                                                                Delaware Circuit Court    1                                            Delaware County, Indiana
STATE OF INDIANA                          )                                          DELAWARE CIRCUIT/SUPERIOR COURT
                                          )SS:
COUNTY OF DELAWARE                        )                                          SITTING IN                          ,
                                                                                                                             INDIANA


ANNETTE PADGETT                                                        )

                                                                       )
                                 Plaintiff,                            )

                                                                       )

v.                                                                     )     Cause N0.
                                                                       )

ANONYMOUS, DNP, APRN-BC,                                               )

ANONYMOUS, MSW,                                                        )

ANONYMOUS INTERN and                                                   )

ANONYMOUS SERVICES CORP.                                               )

                                                                       )
                                 Defendants.
                                                              SUMMONS
THE STATE 0F INDIANA T0 DEFENDANT:                            ANONYMOUS, MSW
                                                              WILLIAM KEITH MANSHIP, Msw
                                                              c/o MERIDIAN HEALTH SERVICES CORP.
                                                              240 N. TILLOTSON AVENUE
                                                              MUNCIE, IN      47304


          You have been sued by the person(s)            identiﬁed as "Plaintiff," in the Court stated above.


       The nature 0f the suit against you is stated             in the complaint       Which   is   attached t0 this   SUMMONS.        It also states   the
demand Which the plaintiff has made against you.

        You must either personally 0r by your attorney ﬁle your answer t0 the COMPLAINT with the Clerk within twenty (20)
days commencing the day after this SUMMONS and the COMPLAINT were personally served upon you 0r your agent 0r left
for your by the Sheriff of other process server.


          In the event the   SUMMONS and COMPLAINT were left for you and you then receive by ﬁrst class mail (not certiﬁed)
a copy 0f the      SUMMONS alone, this mailing is merely a conﬁrmation that the SUMMONS and COMPLAINT were previously
left for you.      You should not consider the date 0n Which you receive the mailed SUMMONS as the commencement date for the
time period allowed for your answer.             Rather, the time period allowed for your written answer commences 0n the date                      When
the   SUMMONS and COMPLAINT were ﬁrst personally served upon you 0r your agent or left for you by the Sheriff 0r other
process server.


          However,      if you   0r your agent ﬁrst received the    SUMMONS and the COMPLAINT by certiﬁed mail, you have twenty-
three (23) days from the date 0f receipt t0 ﬁle your written answer With the Clerk.


          If   you         answer the COMPLAINT of the
                     fail to                                       Plaintiff within the times prescribed herein,             judgment   will   be entered
against you for      what the Plaintiff has demanded.


such claim in writing together with your written answer.

          The following manner 0f service

Counsel for Plaintiff:
Barry D. Rooth, #6418-45
Holly S.C. Wojcik, # 23197-64
THEODOROS & ROOTH PC
8750 Broadway, Ste. A
Merrillville,     IN 46410
                                                  is   hereby designated:

                                                                       Date:          W
        If you have a claim against the Plaintiff arising from the same transaction 0r occurrence, you




                                                                                     Certiﬁed Mail.
                                                                                                    ﬂ
                                                                                                                             may be required t0    assert




219/769-6393
PREPARATION DATA:
All   Summonses are       to   be prepared in triplicate with the original 0f each to be placed in the Court ﬁle with two copies available
for service.
If service   is   by certiﬁed mail a properly addressed envelope           shall   be provided for each Defendant.

Certiﬁed mail labels and return receipts must also be furnished for each mailing and the cause number must appear on each
       Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 15 of 35 PageID #: 26
return receipt, Which shall be returnable t0 the Clerk at the address 0f the Court.



                                                                 CLERK'S CERTIFICATE OF MAILING


             I   hereby certify that on the                            day of                             2020, I mailed a copy of this SUMMONS and
                                                                                                                             ,


a copy 0f the        COMPLAINT          to the Defendant,                by certiﬁed mail, requesting a return receipt, at the address furnished by the
Plaintiff.


                                                                           Clerk 0f the             DELAWARE Circuit and Superior Courts
             Dated:                                         ,
                                                                2020.      By:
                                                                                                             Deputy Clerk

                                                       RETURN ON SERVICE OF SUMMONS BY MAIL
             I    hereby certify that the attached return receipt was received by                                  me showing          that the  SUMMONS and a copy 0f the
COMPLAINT              mailed to Defendant                                                                                            ,   was accepted by the Defendant 0n the
         day 0f                                        ,
                                                           2020.


             I    hereby certify that the attached return receipt was received by                                  me showing          that the     SUMMONS            and a copy 0f the
COMPLAINT was returned not accepted 0n the                         day 0f                                                                           ,   2020.


                                                                           Clerk 0f the             DELAWARE Circuit and Superior Courts
             Dated:                                         ,   2020.      By:
                                                                                                             Deputy Clerk

                                                   RETURN OF SERVICE OF SUMMONS BY SHERIFF
             I   hereby certify that    I   have served the Within               SUMMONS:

             1.           By delivering 0n                                                ,   2020, a copy 0f this      SUMMONS, a copy 0f the COMPLAINT and all
other materials ﬁled the same date to each 0f the within                                  named       person(s).


             2.           By     leaving          on                                                     ,     2020,    for           each      0f            the    Within       person(s)
                                                                   a copy of the          SUMMONS,             a copy of the         SUMMONS,            a copy of the      COMPLAINT
and    all        other   materials     ﬁled       the          same     date        at       the     respective    dwelling         house     0r        usual      place   of   abode         of
                                                                                in                                               ,   Indiana, with a person 0f suitable age and
discretion residing within,        whose usual duties 0r activities include prompt communication 0f such information t0 the person
served, 0r        by otherwise leaving such process thereat, and by mailing a copy 0f the SUMMONS without the COMPLAINT t0 the
said   named       person(s) at the address listed herein.


             3.           This   SUMMONS               came        to had this                date,                                            ,        2020.       The within named
                                                                   was not found              in   my bailiwick this     date,                                                     ,   2020.


ALL DONE IN DELAWARE COUNTY, INDIANA.

                                                                           SHERIFF OF DELAWARE COUNTY, INDIANA

                                                                           By:



                                                                        SERVICE ACKNOWLEDGED

             A    copy 0f the within    SUMMONS,                   a copy 0f the          COMPLAINT              and   all   materials ﬁled the           same date attached thereto
were    received          by me    at                                                          in                                                         ,    Indiana,     0n   this    date,
                                              ,   2020.



                                                                                                             Signature 0f Defendant
       Case 1:21-cv-00196-JMS-DLP Document  1-2
                                   18C01 -201    Filed 01/25/21
                                              0-CT-0001  11     Page 16 of 35 PageID    #: 27
                                                                                 Filed: 10/19/2020 12:46 PM
                                                                                                                                                                        Clerk
                                                                Delaware Circuit Court              1                                            Delaware County, Indiana
STATE OF INDIANA                          )                                             DELAWARE CIRCUIT/SUPERIOR COURT
                                          )SS:
COUNTY OF DELAWARE                        )                                             SITTING IN                                 ,
                                                                                                                                       INDIANA


ANNETTE PADGETT                                                           )

                                                                          )
                                 Plaintiff,                               )

                                                                          )

v.                                                                        )     Cause N0.
                                                                          )

ANONYMOUS, DNP, APRN-BC,                                                  )

ANONYMOUS, MSW,                                                           )

ANONYMOUS INTERN and                                                      )

ANONYMOUS SERVICES CORP.                                                  )

                                                                          )
                                 Defendants.
                                                              SUMMONS
THE STATE OF INDIANA TO DEFENDANT:                            ANONYMOUS, DNP, APRN-BC
                                                              RHONDA PALMER, DNP, APRN-BC
                                                              c/o MERIDIAN HEALTH SERVICES CORP.
                                                                   TILLOTSON AVENUE
                                                              240 N.
                                                              MUNCIE, IN 47304

          You have been sued by the person(s)            identiﬁed as "Plaintiff," in the Court stated above.


       The nature 0f the suit against you is stated             in the complaint            Which        is   attached t0 this   SUMMONS.        It also states   the
demand Which the plaintiff has made against you.

        You must either personally 0r by your attorney ﬁle your answer t0 the COMPLAINT with the Clerk within twenty (20)
days commencing the day after this SUMMONS and the COMPLAINT were personally served upon you or your agent 0r left
for your by the Sheriff of other process server.


          In the event the   SUMMONS and COMPLAINT were left for you and you then receive by ﬁrst class mail (not certiﬁed)
a copy 0f the      SUMMONS alone, this mailing is merely a conﬁrmation that the SUMMONS and COMPLAINT were previously
left for you.      You should not consider the date 0n Which you receive the mailed SUMMONS as the commencement date for the
time period allowed for your answer.             Rather, the time period allowed for your written answer commences 0n the date                                When
the   SUMMONS and COMPLAINT were ﬁrst personally served upon you 0r your agent or left for you by the Sheriff 0r other
process server.


          However,      if you   0r your agent ﬁrst received the       SUMMONS and the COMPLAINT by certiﬁed mail, you have twenty-
three (23) days from the date 0f receipt t0 ﬁle your written answer With the Clerk.


          If   you         answer the COMPLAINT of the
                     fail to                                           Plaintiff within the times prescribed herein,                   judgment   will   be entered
against you for      what the Plaintiff has demanded.

        If you have a claim against the Plaintiff arising from the same transaction 0r occurrence, you                                 may be required t0    assert
such claim in writing together with your written answer.

                                                                                                '
          The following manner 0f service         is   hereby designated:               C               d Mail.
                                                                                                              ﬂ
Counsel for Plaintiff:                                                    Date:             L

Barry D. Rooth, #6418-45
Holly S.C. Wojcik, # 23197-64
THEODOROS & ROOTH PC
8750 Broadway, Ste. A
Merrillville,     IN 46410
219/769-6393
PREPARATION DATA:
All   Summonses are       to   be prepared in triplicate with the original 0f each to be placed in the Court ﬁle with two copies available
for service.
If service   is   by certiﬁed mail a properly addressed envelope              shall   be provided for each Defendant.

Certiﬁed mail labels and return receipts must also be furnished for each mailing and the cause number must appear on each
       Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 17 of 35 PageID #: 28
return receipt, Which shall be returnable t0 the Clerk at the address 0f the Court.



                                                                 CLERK'S CERTIFICATE OF MAILING


             I   hereby certify that on the                            day 0f                             2020, I mailed a copy of this SUMMONS and
                                                                                                                             ,


a copy 0f the        COMPLAINT          to the Defendant,                by certiﬁed mail, requesting a return receipt, at the address furnished by the
Plaintiff.


                                                                           Clerk 0f the             DELAWARE Circuit and Superior Courts
             Dated:                                         ,
                                                                2020.      By:
                                                                                                             Deputy Clerk

                                                       RETURN ON SERVICE OF SUMMONS BY MAIL
             I    hereby certify that the attached return receipt was received by                                  me showing          that the  SUMMONS and a copy 0f the
COMPLAINT              mailed to Defendant                                                                                            ,   was accepted by the Defendant 0n the
         day 0f                                        ,
                                                           2020.


             I    hereby certify that the attached return receipt was received by                                  me showing          that the     SUMMONS            and a copy 0f the
COMPLAINT was returned not accepted 0n the                         day 0f                                                                           ,   2020.


                                                                           Clerk 0f the             DELAWARE Circuit and Superior Courts
             Dated:                                         ,   2020.      By:
                                                                                                             Deputy Clerk

                                                   RETURN OF SERVICE OF SUMMONS BY SHERIFF
             I   hereby certify that    I   have served the Within               SUMMONS:

             1.           By delivering 0n                                                ,   2020, a copy 0f this      SUMMONS, a copy 0f the COMPLAINT and all
other materials ﬁled the same date to each 0f the within                                  named       person(s).


             2.           By     leaving          on                                                     ,     2020,    for           each      0f            the    Within       person(s)
                                                                   a copy of the          SUMMONS,             a copy of the         SUMMONS,            a copy of the      COMPLAINT
and    all        other   materials     ﬁled       the          same     date        at       the     respective    dwelling         house     0r        usual      place   of   abode         of
                                                                                in                                               ,   Indiana, with a person 0f suitable age and
discretion residing within,        whose usual duties 0r activities include prompt communication 0f such information t0 the person
served, 0r        by otherwise leaving such process thereat, and by mailing a copy 0f the SUMMONS without the COMPLAINT t0 the
said   named       person(s) at the address listed herein.


             3.           This   SUMMONS               came        to had this                date,                                            ,        2020.       The within named
                                                                   was not found              in   my bailiwick this     date,                                                     ,   2020.


ALL DONE IN DELAWARE COUNTY, INDIANA.

                                                                           SHERIFF OF DELAWARE COUNTY, INDIANA

                                                                           By:



                                                                        SERVICE ACKNOWLEDGED

             A    copy 0f the within    SUMMONS,                   a copy 0f the          COMPLAINT              and   all   materials ﬁled the           same date attached thereto
were    received          by me    at                                                          in                                                         ,    Indiana,     0n   this    date,
                                              ,   2020.



                                                                                                             Signature 0f Defendant
                                                                         Filed: 11/5/2020 11:42 AM
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 18 of 35 PageID    #: 29
                                                                                                                Delaware Circuit Court 1
                                                                                                               Delaware County, Indiana




 STATE OF INDIANA                   )                             DELAWARE CIRCUIT COURT                  1


                                    )   SS:
 COUNTY OF DELAWARE )                                             CAUSE NO.       18C01-2010-CT-0001 11

 ANNETTE PADGETT,
        Plaintiff,                                          )

                                                            )

 V.                                                         )

                                                            )

 ANONYMOUS, DNP, APRN—BC,                                   )

 ANONYMOUS MSW, ANONYMOUS                                   )

 INTERN, and ANONYMOUS SERVICES                             )

 CORR,
          Defendants.


                         UNOPPOSED MOTION FOR EXTENSION OF TIME
                            TO ANSWER OR OTHERWISE RESPOND
            The Defendants, by counsel,         state for their   Unopposed Motion        for Extension   0f Time to


  Answer or Otherwise Respond,            as follows:


            1.       Defendants were served With the Complaint 0n October 21, 2020 by certiﬁed


  mail,   making a response due on or before November              13,   2020.


            2.       Defendants request that the time Within Which they must answer or otherwise


  respond t0 the Complaint be extended for 6O days, to and including, January 12, 2021, for the


  reason that such time       is   needed for the United States government                t0 assess this claim for


  coverage under the Federal Tort Claims Act.


            3.       Plaintiff’s counsel      Holly S.C. Wojcik has been consulted regarding          this     Motion

  and has no obj ection    to the extension.


            WHEREFORE,        Defendants pray that the Court enter               its   Order granting Defendants’

  Motion and extend the time within which Defendants must answer or otherwise plead                       t0   January


  12,   2021.
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 19 of 35 PageID #: 30




                                                  Respectfully submitted,


                                                  HUNT SUEDHOFF KALAMAROS LLP

                                                  /s/Michael G. Getty
                                                  Philip E. Kalamaros (#1 1722-71)
                                                  Michael G. Getty (# 1 7 1 50-49)
                                                  Attorneyfor Defendants
                                                  301 State   Street,   PO Box 46
                                                  Saint Joseph,   MI 49085
                                                  Tel: 269.983.4405
                                                  Email:   mgettnghsk-lawcom



                                      CERTIFICATE 0F SERVICE

        I   certify that a true   and correct copy of the above and foregoing document was ﬁled and

  served upon   all   counsel of record Via the Court’s electronic ﬁling/service system, this 5th day of


 November, 2020.



                                                    Michael G. Getty
                                                  /s/

                                                  Michael G. Getty
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 20 of 35 PageID #: 31




 STATE OF INDIANA                )                                   DELAWARE CIRCUIT COURT                 1


                                 )   SS:
 COUNTY OF DELAWARE )                                                CAUSE NO.      18C01-2010-CT-0001 1 1

 ANNETTE PADGETT,

        Plaintiff,


 VS.


 ANONYMOUS, DNP, APRN—BC,                          vvvvvvvvvvvv




 ANONYMOUS MSW, ANONYMOUS
 INTERN, and ANONYMOUS SERVICES
 CORR,

        Defendants.


                                               M
           The Defendants, by counsel, having ﬁled                their   Unopposed Motion       for Extension of    Time

  to   Answer   or Otherwise Respond, and the Court being duly advised hereby ﬁnds that the                         Motion

  should be   GRANTED.

           IT IS     THEREFORE ORDERED, ADJUDGED AND DECREED, that the time within

  which Defendants must answer or otherwise respond                   to the   Complaint   is   hereby extended for 60


  days, t0 and including January 12, 2021.




              November 5, 2020
  Date:
                                                JUDGE,                DELAWARE CIRCUIT COURT
                                                                                        KU                      1




  Distribution:
  Holly S.C. Wojcik
  Michael G. Getty
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 21 of 35 PageIDFiled:
                                                                              #: 32
                                                                                  1/6/2021                                      2:05   PM
                                                                                                                Delaware Circuit Court 1
                                                                                                               Delaware County, Indiana




 STATE OF INDIANA                  )                                DELAWARE CIRCUIT COURT                1


                                   )   SS:
 COUNTY OF DELAWARE )                                               CAUSE NO.    18C01-2010-CT-0001 11

 ANNETTE PADGETT,
      Plaintiff,                                           )

                                                           )

 V.                                                        )

                                                           )

 ANONYMOUS, DNP, APRN—BC,                                  )

 ANONYMOUS MSW, ANONYMOUS                                  )

 INTERN, and ANONYMOUS SERVICES                            )

 CORR,
       Defendants.


                   UNOPPOSED SECOND MOTION FOR EXTENSION OF TIME
                          TO ANSWER OR OTHERWISE RESPOND

          The Defendants, by counsel,           state for their     Unopposed Second Motion       for Extension      of


  Time   t0    Answer   or Otherwise Respond, as follows:


              1.    Defendants’ Answer or other responsive pleading              is   currently due   on January    12,


  2021 pursuant    to this Court’s     Order 0f November       5,   2020 and said time has not yet expired.

          2.        This claim    is   governed by the Federal Tort Claims Act and requires the U.S.

  government’s assessment 0f the claim for coverage of the Defendants under the Act. The U.S.


  government, by and through the Department of Health and                  Human      Services, needs an additional


  14 days to assess the claim and ﬁle a responsive pleading, up to and including January 26, 2021.


          3.        Plaintiffs counsel Holly S.C.        Wojcik has been consulted regarding            this   Motion

  and has no obj ection     to the extension.


          WHEREFORE,           Defendants pray that the Court enter             its   Order granting Defendants’

  Motion and extend the time within Which Defendants must answer 0r otherwise plead                       t0   January


  26, 2021.
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 22 of 35 PageID #: 33




                                                   Respectfully submitted,


                                                   HUNT SUEDHOFF MLAMAROS LLP

                                                   /s/Michael G. Getty
                                                   Michael G. Getty (# 1 7 1 50—49)
                                                   Attorneyfor Defendants
                                                   301 State   Street,   PO Box 46
                                                   Saint Joseph,   MI 49085
                                                   Tel:   269.983.4405
                                                   Email:   mgethhsk-law30m


                                       CERTIFICATE OF SERVICE

         I   certify that a true   and correct copy of the above and foregoing document was ﬁled and

  served upon    all   counsel 0f record Via the Court’s electronic ﬁling/service system, this 6th day 0f


  January, 2021.




                                                     Michael G. Getty
                                                   /s/

                                                   Michael G. Getty
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 23 of 35 PageID #: 34




 STATE OF INDIANA                              )                            DELAWARE CIRCUIT COURT                      1


                                               )   SS:
 COUNTY OF DELAWARE )                                                       CAUSE NO.           18C01-2010-CT-0001 1 1

 ANNETTE PADGETT,

       Plaintiff,


 VS.


 ANONYMOUS, DNP, APRN—BC,                                  vvvvvvvvvvvv




 ANONYMOUS MSW, ANONYMOUS
 INTERN, and ANONYMOUS SERVICES
 CORR,

       Defendants.




          The Defendants, by counsel, having ﬁled
                                                         m                their        Unopposed Second Motion       for Extension


  of Time t0 Answer or Otherwise Respond, and the Court being duly advised hereby ﬁnds that the


  Motion should be                  GRANTED.

          IT IS                 THEREFORE ORDERED, ADJUDGED AND DECREED, that the time within

  Which Defendants must answer or otherwise respond                           t0 the       Complaint   is   hereby extended for 14


  days, t0 and including January 26, 2021.




                                                                                  KU




           January 6, 2021




                             January 6, 2021
  Date:
                                                         JUDGE,               DELAWARE CIRCUIT COURT
                                                                                                KU                          1




  Distribution:
  Holly S.C. Wojcik
  Michael G. Getty
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 24 of 35 PageIDFiled:
                                                                              #: 35
                                                                                  1/6/2021                                     4:15   PM
                                                                                                               Delaware Circuit Court 1
                                                                                                              Delaware County, Indiana




  STATE OF INDIANA                               )              DELAWARE CIRCUIT/SUPERIOR COURTS
                                                 )              SS:
  COUNTY OF DELAWARE                             )              CASE NO.-18C01-2010-CT-0001 11

  ANNETTE PADGETT,

                 Plaintiff,
        V.



  ANONYMOUS, DNP, APRN—BC,                       vvvvvvvvvvvv




  ANONYMOUS, MSW,
  ANONYMOUS INTERN, and
  ANONYMOUS SERVICES CORR,
                 Defendants.


                                            APPEARANCE

  (1)   Name    0f parties responding:


        United States of America


  (2)   The following undersigned counsel      enters his appearance                on behalf 0f the above:

        Name:             John E. Childress, Acting United States Attorney
                 By:      Shelese M. Woods, Assistant United States Attorney
                          Ofﬁce of the United States Attorney
                          10 West Market Street, Suite 2100
                          Indianapolis, IN 46204-3048


        Phone:                   317-226-6333
        Fax:                     317-226-6125
        Email Address:            Shelese.w00ds@usdoj .gov


  (3)   The United     States Will not accept service             by   facsimile.


                                                 Respectfully submitted,


                                                 JOHN E. CHILDRESS
                                                 Acting United States Attorney



                                         By:      S/            Shelese   Woods
                                                  Shelese               Woods
                                                 Assistant United States Attorney
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 25 of 35 PageID #: 36




                                            CERTIFICATE OF SERVICE

            Ihereby       certify that   0n January   6,   2021, the foregoing was ﬁled electronically.   On this

  same     date,   I   have served a copy of the foregoing upon the following by ﬁrst class mail, prepaid,

  and properly addressed          to:



            Holly S.C. Wojcik
            Barry D. Rooth
            William A. Theodoros
            8750 Broadway, Suite A
            Merrillville,     IN 46410

                                                                     s/   Shelese   Woods
                                                                     Shelese   Woods
                                                                     Assistant United States Attorney


  Ofﬁce of the United States Attorney
  10 West Market Street, Suite 2100
  Indianapolis, IN 46204
  (3 17)   226-6333
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 26 of 35 PageIDFiled:
                                                                              #: 37
                                                                                  1/6/2021                                                4:20   PM
                                                                                                                          Delaware Circuit Court 1
                                                                                                                         Delaware County, Indiana




  STATE OF INDIANA                                        )              DELAWARE CIRCUIT/SUPERIOR COURTS
                                                          )              SS:
  COUNTY OF DELAWARE                                      )              CASE NO.- 1 8C0 1 -20 1 0-CT-0001 1 1

  ANNETTE PADGETT,

          Plaintiff,

  V.



  ANONYMOUS, DNP, APRN—BC,                                vvvvvvvvvvvv




  ANONYMOUS, MSW,
  ANONYMOUS INTERN, and
  ANONYMOUS SERVICES CORR,

          Defendants.


                 NOTICE OF THE UNITED STATES UNDER 42 U.S.C.                                           S 233(1)“)


          The United     States of America,    by   its   attorney,             John E. Childress, Acting United States

  Attorney for the Southern District of Indiana, provides the following notice pursuant t0 42 U.S.C.


  § 233(l)(1):


          1.      The U.S. Department 0f Health and Human Services (HHS) notiﬁed                                 this   ofﬁce of

  this state court action against   anonymous defendants,                       further identiﬁed as possible    employees 0f

  Meridian Health Services (“MHS”), an entity described in 42 U.S.C.                               § 233(g)(4) (a public or


  non-proﬁt private entity receiving federal funds under section 254b of Title 42 pursuant to the


  Federally Supported Health Centers Assistance Act, 42 U.S.C. § 233(g)-(n)                              (FSHCAA)),      and,


  employees 0f MHS.

          2.      Pursuant t0 42 U.S.C. § 233(l)(1), the United States                        is   appearing for the limited


  purpose 0f notifying the Court as t0 whether the Secretary of HHS has advised that                             MHS 0r any
  0f the persons named above has been “deemed” to be an “employee of the Public Health

  Service” with respect to the actions or omissions that are the subj ect of this civil action.


          3.      At present,   HHS has advised only that the anonymous employees of MHS has

  been “deemed”    t0   be an “employee of the Public Health Service.”                       HHS has not yet provided its

  report as t0 whether the   deemed   status   of MHS and/or the named persons under 42 U.S.C.
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 27 of 35 PageID #: 38




  §§ 233(g) and (h) extends t0 the acts or omissions that are the subj ect of this civil action. See 42

 U.S.C.   § 233(1)(1).     See 28 C.F.R.   § 15.3; see also       60 Fed. Reg. 22,530, 22,531 (May         8,   1995).


          4.        Once   HHS has completed its review and provided its report, the United States

  Attorney, as the U.S. Attorney General’s delegate, will determine whether the acts alleged                      fall



  Within the scope of 42 U.S.C. § 233(a), the applicable provisions of the                   FSHCAA, and were

  otherwise within the scope 0f MHS’ or the individuals’ “deemed” employment. See 42 U.S.C.


  § 233(c);    28 C.F.R.   § 15.4(b);   60 Fed. Reg.    at   22,53 1. The United States Attorney has not yet


  been provided with sufﬁcient information            t0   make   that determination. If the      above-named

  defendants are so determined t0 have been            deemed employees 0f the Public Health Service               for


  purposes 0f the acts or omissions giving           rise t0 this suit,   and   that they   were acting within the

  scope of their deemed employment,          it is   anticipated that this action Will be       removed   t0 federal


  court pursuant t0 28 U.S.C. § 233(0).


                                                                   Respectfully submitted,


                                                                   JOHN E. CHILDRESS
                                                                   Acting United States Attorney



                                                           By:     s/ Shelese     Woods
                                                                   Shelese      Woods
                                                                   Assistant United Stats Attorney
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 28 of 35 PageID #: 39



                                         CERTIFICATE OF SERVICE

            I   hereby certify that 0n January    6,   2021, the foregoing was ﬁled electronically.   On   this


  same     date,   I   have served a copy 0f the foregoing upon the following by ﬁrst class mail, prepaid,

  and properly addressed         to:



            Holly S.C. Wojcik
            Barry D. Rooth
            William A. Theodoros
            8750 Broadway, Suite A
            Merrillville,     IN 46410
                                                               s/ Shelese   Woods
                                                                Shelese   Woods
                                                                Assistant United States Attorney


  Ofﬁce of the United States Attorney
  10 West Market Street, Suite 2100
  Indianapolis, IN 46204
  (3 17)   226-6333
Case 1:21-cv-00196-JMS-DLP Document  1-2
                            18C01 -201    Filed 01/25/21
                                       0-CT-0001  11     Page 29 of 35 PageID    #: 40
                                                                          Filed: 10/19/2020 12:46 PM
                                                                                                                                           Clerk
                                                    Delaware Circuit Court          1                                   Delaware County, Indiana




  STATE OF INDIANA                              )          DELAWARE CIRCUIT/SUPERIOR COURT
                                                )SS:
  COUNTY OF DELAWARE                            )          SITTING IN                                    ,   INDIANA


  ANNETTE PADGETT

                             Plaintiff,


  v.                                                                              Cause No.
                                                                    VVVVVVVVVVV




  ANONYMOUS, DNP, APRN-BC,
  ANONYMOUS, MSW,
  ANONYMOUS INTERN and
  ANONYMOUS SERVICES CORP.
                              Defendants.




         COMES NOW,            the plaintiff,
                                                         w
                            COMPLAINT FOR MEDICAL MALPRACTICE



                                                ANNETTE PADGETT,                          by counsel, and     for her cause 0f


  action against the defendant,      ANONYMOUS, DNP, APRN-BC                                  ("DNP"),   alleges    and says as

  follows:


         1.      At all times relevant hereto, Samuel Al-Samarrie, Deceased was a patient ofDNP.

         2.      At   all   times relevant hereto,       DNP was a nurse practitioner duly licensed to practice

  medicine under the laws of the State of Indiana.


         3.      On    or about October 4, 2018 and continuing through                          November      17,   2018,   DNP

  undertook the care and treatment 0f Samuel Al-Samarrie, Deceased.


         4.      In caring for and treating           Samuel Al—Samarrie, Deceased,                 DNP failed to comply

  With the applicable standards of care proximately causing the death of Samuel Al—Samarrie,


  Deceased on or about November           17, 2018.
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 30 of 35 PageID #: 41




            5.      At   all   times relevant hereto, the plaintiff, Annette Padgett was the Parent and


 Natural Guardian of Samuel Al—Samarrie, Deceased.


            6.      As   a further direct and proximate result of said acts and omissions on the part of


  DNP,   the plaintiff,   Annette Padgett,            lost the love   and affection 0f her    child,   has suffered great


  emotional distress and mental trauma, and has incurred reasonable medical and related expenses


  and reasonable funeral and burial expenses.

            WHEREFORE,             the plaintiff,     ANNETTE PADGETT,                 prays for damages against the


  defendant,     ANONYMOUS, DNP, APRN-BC, as are reasonable in the premises, the costs of this

  action,   pre-judgment       interest,   and for   all   other just and proper relief in the premises.


                                                                       Respectfully submitted,


                                                                        /s/   Hobby    5.0.   wojwo
                                                                       Holly S.C. Wojcik, # 23 197-64
                                                                       Barry D. Rooth, # 6418-45
                                                                       William A. Theodoros, #32173
                                                                       Attorneys for the Plaintiff
                                                                       THEODOROS & ROOTH, P.C.
                                                                       8750 Broadway, Ste. A
                                                                       Merrillville,   IN 46410
                                                                       (219) 769-6393




            COMES NOW,            the plaintiff,
                                                            w
                                                     ANNETTE PADGETT,              by counsel, and      for her cause of


  action against the defendant,        ANONYMOUS, MSW ("MSW"), alleges and says as follows:
            1.      At   all   times relevant hereto,          Samuel Al—Samarrie, Deceased was              a patient of


  MSW.
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 31 of 35 PageID #: 42




         2.        At     all   times relevant hereto,     MSW was duly licensed to provide healthcare under
  the laws of the State 0f Indiana.


         3.        On     0r about October 4, 2018 and continuing through               November     17, 2018,   MSW
  undertook the care and treatment of Samuel Al-Samarrie, Deceased.


         4.        In caring for and treating         Samuel Al—Samarrie, Deceased,           MSW failed t0 comply
  with the applicable standards of care proximately causing the death of Samuel Al—Samarrie,


  Deceased 0n 0r about November                17, 2018.


         5.        At     all    times relevant hereto, the plaintiff, Annette Padgett was the Parent and


 Natural Guardian of Samuel Al—Samarrie, Deceased.


         6.        As     a further direct and proximate result of said acts and omissions 0n the part 0f


  MSW,   the plaintiff,         Annette Padgett,     lost the love   and affection of her    child, has suffered great


  emotional distress and mental trauma, and has incurred reasonable medical and related expenses


  and reasonable funeral and burial expenses.

          WHEREFORE,                the plaintiff,   ANNETTE PADGETT,                prays for damages against the


  defendant,   ANONYMOUS, MSW, as are reasonable in the premises, the costs 0f this action, pre-
 judgment     interest,   and for    all   other just and proper relief in the premises.


                                                                     Respectfully submitted,


                                                                      /s/   Howj     3.0.   wojouo
                                                                     Holly S.C. Wojcik, # 23 197-64
                                                                     Barry D. Rooth, # 6418-45
                                                                     William A. Theodoros, #32 1 73
                                                                     Attorneys for the Plaintiff
                                                                     THEODOROS & ROOTH, P.C.
                                                                     8750 Broadway, Ste. A
                                                                     Merrillville,   IN 46410
                                                                     (219) 769-6393
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 32 of 35 PageID #: 43




            COMES NOW,          the plaintiff,
                                                       w
                                                  ANNETTE PADGETT,            by counsel, and   for her cause 0f


  action against the defendant,      ANONYMOUS INTERN ("Intern"), alleges and says as follows:
            1.     At   all   times relevant hereto,      Samuel Al—Samarrie, Deceased was             a patient 0f


  Intern.


            2.     At   all   times relevant hereto, Intern was duly licensed or authorized to provide


  healthcare under the laws 0f the State of Indiana.


            3.     On   0r about October 4, 2018 and continuing through            November     17,   2018, Intern


  undertook the care and treatment of Samuel Al-Samarrie, Deceased.


            4.     In caring for and treating       Samuel Al-Samarrie, Deceased, Intern        failed t0   comply

  With the applicable standards 0f care proximately causing the death of Samuel Al—Samarrie,


  Deceased on 0r about November               17, 2018.


            5.     At   all   times relevant hereto, the plaintiff, Annette Padgett was the Parent and


 Natural Guardian of Samuel Al-Samarrie, Deceased.


            6.     As   a further direct and proximate result 0f said acts and omissions 0n the part 0f


  Intern, the plaintiff, Annette Padgett, lost the love and affection of her child, has suffered great


  emotional distress and mental trauma, and has incurred reasonable medical and related expenses


  and reasonable funeral and burial expenses.

            WHEREFORE,           the plaintiff,    ANNETTE PADGETT,            prays for damages against the


  defendant,     ANONYMOUS INTERN,                  as are reasonable in the premises, the costs 0f this action,


  pre-judgment    interest,   and for   all   other just and proper relief in the premises.
Case 1:21-cv-00196-JMS-DLP Document 1-2 Filed 01/25/21 Page 33 of 35 PageID #: 44




                                                                   Respectfully submitted,


                                                                    /s/   Howj     3.0.   wojouo
                                                                   Holly S.C. Wojcik, # 23 197-64
                                                                   Barry D. Rooth, # 6418-45
                                                                   William A. Theodoros, #32 1 73
                                                                   Attorneys for the Plaintiff
                                                                   THEODOROS & ROOTH, P.C.
                                                                   8750 Broadway, Ste. A
                                                                   Merrillville,   IN 46410
                                                                   (219) 769-6393



                                                       COUNT IV
              COMES NOW,          the plaintiff,   ANNETTE PADGETT,             by counsel, and    for her cause   of


  action against the defendant,         ANONYMOUS SERVICES CORP.                      ("C0rp."), alleges and says


  as follows:


              1.    At   all   times relevant hereto,        Samuel Al—Samarrie, Deceased was            a patient 0f


  Corp.

              2.    At all times relevant hereto, Corp. was a corporation duly organized under the laws

  0f the State of Indiana.


              3.    At   all   times relevant hereto,   ANONYMOUS, DNP, APRN-BC, ANONYMOUS,

  MSW, ANONYMOUS INTERN                            and the    skilled agents,   apparent agents, employees and


  personnel of Corp. were acting within the scope 0f their agency, apparent agency and employment


  relationship with      Corp.

              4.    On    or about October 4, 2018 and continuing through             November     17,   2018, Corp.


  and   its   agents, apparent agents,       employees and personnel cared for and treated Samuel Al-

  Samarrie, Deceased.
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          5.         In caring for and treating      Samuel Al-Samarrie, Deceased, ANONYMOUS, DNP,

  APRN-BC, ANONYMOUS, MSW,                          ANONYMOUS INTERN, and the agents, employees and
  personnel 0f C0rp., while acting within the scope 0f their agency and employment relationship


  With C0rp., failed t0 comply With the applicable standards of care proximately causing the death


  of Samuel Al—Samarrie, Deceased 0n 0r about November                        17, 2018.


          6.         At   all   times relevant hereto, the plaintiffs, Annette Padgett, was the Parent and


 Natural Guardian 0f Samuel Al-Samarrie, Deceased.


          7.         As   a further direct and proximate result 0f said acts and omissions 0n the part 0f


  C0rp., the     plaintiff,   Annette Padgette,      lost the love     and affection of her   child, has suffered great


  emotional distress and mental trauma, and has incurred reasonable medical and related expenses


  and reasonable funeral and burial expenses.

          WHEREFORE,               the plaintiff,   ANNETTE PADGETT,                  prays for damages against the


  defendant,     ANONYMOUS SERVICES CORR, as are reasonable in the premises, the costs 0f
  this action,   pre-judgment      interest,   and for   all   other just and proper relief in the premises.


                                                                      Respectfully submitted,


                                                                       /s/   Howj     3.0.   wojouo
                                                                      Holly S.C. Wojcik, # 23 197-64
                                                                      Barry D. Rooth, # 6418-45
                                                                      William A. Theodoros, #32 1 73-49
                                                                      Attorneys for the Plaintiff
                                                                      THEODOROS & ROOTH, P.C.
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                                                                      Merrillville,   IN 46410
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                                     JURY DEMAND

        COMES NOWthe plaintiff, by counsel, and demands trial by jury.

                                                 Respectfully submitted,




                                                  /s/   Howj     3.0.   wojouo
                                                 Holly S.C. Wojcik, # 23 197-64
                                                 Barry D. Rooth, # 6418-45
                                                 William A. Theodoros, #32 1 73-49
                                                 Attorneys for the Plaintiffs
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